                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA


 GLENN WASHINGTON                                   *           CIVIL ACTION NO.:
                                                    *           2:22-04054
 VERSUS                                             *
                                                    *
                                                    *           CHIEF JUDGE
 SAFEPOINT INSURANCE COMPANY                        *           NANNETTE JOLIVETTE
                                                    *           BROWN
                                                    *
                                                    *           MAGISTRATE JUDGE
                                                                DONNA PHILLIPS
                                                                CURRAULT
 ***************************                        *

                                NOTICE OF SUBMISSION

       PLEASE TAKE NOTICE that defendant herein, Safepoint Insurance Company, has filed

a Motion to Compel and Motion for Sanctions.

       PLEASE TAKE FURTHER NOTICE that the above-referenced Motion to Compel, and

Motion for Sanctions will be submitted for consideration on February 7, 2024.

                                    Respectfully submitted,


                                     /s/ John A. Doran
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                                     Attorneys for Defendant, Safepoint Insurance
                                     Company
                                  CERTIFICATE OF SERVICE

       I hereby certify on the 19th day of January, 2024, that a copy of the foregoing was filed

electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will be sent to

all counsel of record by operation of the Court’s electronic filing system.




                                       /s/ John A. Doran
                                         JOHN A. DORAN
